         Case 1:20-cr-10111-RWZ Document 255 Filed 01/25/22 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

____________________________________
                                    )
UNITED STATES OF AMERICA            )
                                    )
      v.                            )
                                    )                          Case No. 20-cr-10111-RWZ
CHARLES LIEBER,                     )
                                    )
      Defendant.                    )
____________________________________)

 DEFENDANT CHARLES LIEBER’S ASSENTED-TO MOTION FOR AN EXTENSION
               OF TIME TO FILE POST-TRIAL MOTIONS

        Defendant Charles Lieber, through his counsel and with the assent of the government,

respectfully requests that the Court extend his deadline for filing post-trial motions pursuant to

Fed. R. Crim. P. 29 and 33 to the following briefing schedule due to a medical issue (albeit

temporary) within the defense team:

            a) February 7, 2022 submission by the Defendant;

            b) March 7, 2022 opposition brief by the government; and

            c) March 21, 2022 reply brief by the Defendant.

        WHEREFORE, Defendant Charles Lieber, with the government’s assent, respectfully

requests that this Court enter a scheduling order with the aforementioned deadlines for filing post-

trial motions.

                                                               Respectfully submitted,

                                                               /s/ Torrey K. Young______
                                                               Torrey K. Young (#682550)
                                                               Marc L. Mukasey (pro hac vice)

                                                               MUKASEY FRENCHMAN LLP
                                                               570 Lexington Avenue, Suite 3500
                                                               New York, New York 10022
        Case 1:20-cr-10111-RWZ Document 255 Filed 01/25/22 Page 2 of 2




                               CERTIFICATION OF SERVICE

       I hereby certify that on January 25, 2022, a copy of the foregoing was filed electronically

and served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent

by e-mail to all parties by operation of the Court’s electronic filing system or by mail to anyone

unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may

access this filing through the Court’s CM/ECF System.

Dated: New York, New York
       January 25, 2022
                                                     /s/ Torrey K. Young
                                                     Torrey K. Young
                                                     Mukasey Frenchman, LLP
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